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  6   Attorneys for KAREN GOWINS Creditor,
      And Many Wildfire Victim Creditors
  7

  8
                                 UNITED STATES BANKRUPTCY COURT
  9                              NORTHERN DISTRICT OF CALIFORNIA
 10                                   SAN FRANCISCO DIVISION

 11
       In re:                                            )
 12                                                      )   Case No. 19-30088 (DM)
       PG&E CORPORATION                                  )   Chapter 11
 13                                                      )   (Lead Case)
       -and-                                                 (Jointly Administered)
                                                         )
 14                                                      )
       PACIFIC GAS AND ELECTRIC                              MOTION FOR THE APPOINTMENT OF
 15    COMPANY                                           )   AN EXAMINER OF VOTING
                  Debtors.                               )   PROCEDURAL IRREGULARITIES
 16                                                      )   PURSUANT TO SECTION 1104(c) OF
          Affects PG&E Corporation                       )   THE BANKRUPTCY CODE AND
 17                                                      )   BANKRUPTCY RULE 2007.1
          Affects Pacific Gas & Electric
                                                         )   Date: June 4, 2020
 18
          Affects Both Debtors                           )   Time: 9:30 a.m. (Pacific Time)
 19                                                      )   Place: By Video
       All papers shall be filed in the Lead Case,       )          United States Bankruptcy Court
 20    No.19-30088 (DM)                                  )          Courtroom 17, 16th Floor
       ____________________________________                         San Francisco, CA 94102
                                                         )
 21                                                          Objection Deadline: June 2, 2020

 22             Karen Gowins and Many Wildfire Victims, by and through their undersigned counsel,
 23   hereby respectfully files this Motion for an Appointment of An Examiner of Voting Procedural
 24
      Irregularities Pursuant to Section 1104(c) of the Bankruptcy code and Bankruptcy Rule 2007.1.
 25
                                            JURISDICTION AND VENUE
 26
                The United State Bankruptcy Court for the Northern District of California (“the Court”)
 27

 28   has jurisdiction to appoint an examiner under 28 U.S.C. sections 147 and 1334. Venue is proper
      ______________________________________________________________________________________________
        MOTION FOR THE APPOINTMENT OF AN EXAMINER OF VOTING PROCEDURAL IRREGULARITIES
         PURSUANT TO SECTION 1104(c) OF THE BANKRUPTCY CODE AND BANKRUPTCY RULE 2007.1
Case: 19-30088 Doc# 7568 Filed: 05/25/20 Entered: 05/25/20 15:14:36     USBC/NDCAPage     1 of (DM)
                                                                                    No. 19-30088
                                                 5
  1   under 28 U.S.C. sections 1408 and 1409.

  2          This is a core proceeding pursuant to 28 U.S.C. section 147(b)(2). The statutory bases of
  3
      the relief requested here are sections 1104 of the Bankuptcy Code and Rule 2007.1 of the Federal
  4
      Rules of Bankruptcy Procedure.
  5
                                              BACKGROUND
  6
             On January 29, 2019, the Debtors each filed the Court a voluntary petition for relief under
  7

  8   Chapter 11 of the Bankruptcy Code. No trustee has been appointed and Debtors remain in

  9   possession.
 10          The Order (I) Approving Proposed Disclosure Statement for Debtors’ and Shareholder
 11
      Proponents Joint Chapter 11 Plan of Reorganization; (II) Approving Form and Manner of Notice
 12
      of Hearing on Proposed Disclosure Statement; (III) Establishing and Approving Plan Solicitation
 13
      and Voting Procedures; (IV) Approving Forms of Ballots, Solicitation Packages and Related
 14

 15   Notices; and (V) Granting Related Relief, (Dkt. No. 6340), states: “[t]he Solicitation Agent, on

 16   behalf of the Debtors and the Shareholder Proponents, shall cause the Solicitation Packages

 17   to be mailed by March 31, 2020, or as soon as reasonably practicable thereafter (the
 18   Solicitation Deadline.)” p. 11:3-6.
 19
             The above order further states: “The Voting Deadline. In accordance with the
 20
      Scheduling Order, the Voting Deadline shall be May 15, 2020 at 4:00 p.m. (Prevailing Pacific
 21
      Time)” p. 19:17-18.
 22

 23          However, many Fire Victim Claimants did not receive the ballots and disclosure materials

 24   mandated by the above Order of the Court, or received them after May 15, 2020, the voting

 25   deadline. And, attorneys selecting the “Indirect Solicitation Method” did not receive the ballots
 26
      and disclosure materials until they requested them and well into April although Debtors were
 27
                                                       2
 28

       MOTION FOR THE APPOINTMENT OF AN EXAMINER OF VOTING PROCEDURAL IRREGULARITIES
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                                                                            RULE 2 2007.1
                                                                                   of
                                          5                      USBE/NDCA No. 19-30088 (DM)
  1   required to see that they were mailed on March 31, 2020. (See Exhibits A-J)

  2          Moving parties believe that a through, independent investigation of any fraud, neglect,
  3
      incompetence misconduct, mismanagement or irregularity on the part of Debtors and their
  4
      Noticing Agent is in the best interest of the Fire Victim Creditors in these jointly administered
  5
      bankruptcy cases.
  6
                                           RELIEF REQUESTED
  7

  8          By this Motion, the undersigned respectfully requests that the Court enter an Order

  9   pursuant to 11 U.S.C. section 1104(c) to conduct a thorough and independent investigation of
 10   potential misconduct and mismanagement on the part of the Debtors and Noticing Agent to
 11
      determine whether Debtors’ conduct was in the best interests of the bankruptcy estate.
 12
                                                  ARGUMENT
 13
             Section 1104(c) of the Bankruptcy Code mandates the appointment of an examiner under
 14

 15   circumstances such as those present here:

 16          (c) If the court does not order the appointment of a trustee under this section, then at any
             time before the confirmation of a plan, on request of a party in interest or the United States
 17          trustee, and after notice and a hearing, the court shall order the appointment of an
             examiner to conduct such an investigation of the debtor as is appropriate, including an
 18          investigation of any allegations of fraud, dishonesty, incompetence, misconduct,
             mismanagement, or irregularity in the management of the affairs of the debtor of or
 19          by current or former management of the debtor, if—

 20                  (1) such appointment is in the interests of creditors, any equity security holders,
                     and other interests of the estate; or
 21                  (2) the debtor’s fixed, liquidated, unsecured debts, other than debts for goods,
                     services, or taxes, or owing to an insider, exceed $5,000,000.
 22

 23
             The list of investigations in Section 1104 (c) is illustrative, not exhaustive. See e.g.
 24
      Gordon Props., LLC v. First Owners’ Ass’n of Forthy Six Hundred Condminium (In re Gordon
 25
      Props., LLC) 514 B.R. 449, 458 (Bankr. E.D. Va. 2013). The statute’s requirements for the
 26

 27
                                                        3
 28

       MOTION FOR THE APPOINTMENT OF AN EXAMINER OF VOTING PROCEDURAL IRREGULARITIES
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                                                                            RULE 3 2007.1
                                                                                   of
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  1   appointment of an examiner are that (1) no trustee has been appointed; (2) no plan has been

  2   confirmed; (3) a party in interest or the United States Trustee has requested an examiner; and (4)
  3
      either (i) appointment of an examiner is in the interests of the creditors of the estate or (ii) the
  4
      debtors’ fixed, liquidated, unsecured debts to non-insiders exceed $5 million. The first three
  5
      conditions are clearly satisfied in the instant matter – no trustee has been appointed, no plan has
  6
      been confirmed, and parties in interest (Gowins and Many Wildfire Victim Creditors) have
  7

  8   requested an examiner. The first prong of the last condition is also satisfied, as more fully

  9   discussed below, because the appointment of an examiner is in the interests of the creditors of the
 10   estate. Prong two of the last condition is also met because Debtors’ clearly have more than $5
 11
      million in debt.
 12

 13          The appointment of an examiner is in the best interests of creditors where such

 14   appointment allows for a thorough and independent examination and is necessary to be made into
 15
      very serious allegations. In re JNL Funding Corp. 438 Bank. 356 ( E.D.N.Y. 2010)
 16
             The docket of the Court contains many examples of violations of the Court’s order that
 17
      Fire Victim Creditors were to have ballots mailed to them or their attorneys (depending on which
 18
      voting method was selected) by March 31, 2020. And, the deadline to vote was May 15, 2020.
 19

 20   The following Exhibits hereto are illustrative of these violations.

 21   Exhibit ‘A’ – demonstrates a Fire Victim Creditor did not receive a ballot until three and one-half
 22   hours before the voting deadline; another Fire Victim Creditor did not receive a ballot until three
 23
      days before the deadline and a third Fire Victim Creditor received a ballot, but no disclosure
 24
      materials.
 25
      Exhibit ‘B’ – A Fire Victim Creditor received a voting package after the deadline.
 26

 27   Exhibit ‘C’ – A Fire Victim Creditor received a voting package after the deadline.

 28                                                     4

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                                                                                   of
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  1   Exhibit ‘D’ – A Fire Victim Creditor received ballot three days after the voting deadline.

  2   Exhibit ‘E’ - Declaration of A Fire Victim Creditor who had not received her ballot as of May 6,
  3
      2020.; Declaration of a Fire Victim Creditor who was bullied by her former attorney to vote
  4
      ‘Yes.’ (Dkt. No. 7140)
  5
      Exhibit ‘F’ – Emergency Motion to Stay Voting Deadline, filed in the Court on May 11, 2020, by
  6
      a Fire Victim Creditor who had not received her ballot by that day. (Dkt. No. 7141.)
  7

  8   Exhibit ‘G’ – Affidavit of Dustin Cooper, attorney for Fire Victim Creditors, who had selected an

  9   “Indirect Solicitation Method” and did not receive ballots until May 6, 2020. (Dkt. No. 7162)
 10   Exhibit ‘H’ – Affidavit of Joseph Luca, attorney for Fire Victim Creditors, who had selected an
 11
      “Indirect Solicitation Method” and did not receive ballots until April 24, 2020, (Dkt. No. 7014)
 12
      Exhibit ‘I’ – Notice of Plan Voting Procedural Irregularities, demonstrating attorneys using voting
 13
      procedural devices to obtain “No” votes. (Dkt. No. 7069, 7069-1 through 10)
 14

 15   Exhibit ‘J’ – Second Notice of Voting Procedural Irregularties, delineating situations where

 16   ballots not received or received very late, solicitation packages with cover letters from the wrong

 17   attorneys and much suspicion and distrust by Fire Victim Creditors of the ‘Master Ballot” system.
 18   (Dkt. No. 7186, 7186-1 through 9)
 19
             Clearly, all of these samples of irregularities and utter violation of the Court’s Order call
 20
      for examination. An examiner should be appointed as soon as practicable. Therefore, moving
 21
      parties request that the Court enter an Order appointing a disinterested examiner to conduct a
 22

 23   thorough examination to determine whether the Fire Victim Creditors should remain

 24   disenfranchised.

 25   Date: May 19, 2020.                  THE KANE LAW FIRM
 26
                                           __/s/ Bonnie E. Kane_______________________
 27                                        BONNIE E. KANE
                                           Attorneys for Karen Gowins and Many Wildfire Creditors
 28                                                   5

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